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     Attorneys for Plaintiff
 9
10                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
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12   SOCIAL TECHNOLOGIES LLC, a Georgia                     Case Number: 3:18-cv-05945
     limited liability company,
13
                     Plaintiff,                             CERTIFICATE OF INTERESTED
14                                                          PARTIES AND CORPORATE
            vs.                                             DISCLOSURE STATEMENT
15
     APPLE INC., a California corporation,
16
                     Defendant.
17
18   Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 3-15, Plaintiff Social Technologies, LLC, the

19   undersigned certifies that the following listed persons, associations of persons, firms, partnerships,

20   corporations (including parent corporations) or other entities (i) have a financial interest in the
21
     subject matter in controversy or in a party to the proceeding, or (ii) have a non-financial interest in
22
     that subject matter or in a party that could be substantially affected by the outcome of this
23
     proceeding:
24
     1.     FlexDev, LLC
25
26   2.     Robert Long II

27   3.     Samuel Bonet
28
                                                           1
                                            Certificate of Interested Parties
          Case 3:18-cv-05945-VC Document 20 Filed 10/04/18 Page 2 of 2



     4.     Mavronicolas & Dee, LLP, and undersigned counsel
 1
 2
 3   Dated: September 29, 2018                            Respectfully Submitted,

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 5
 6
                                                          __/s/ Nicholas Ranallo_________________
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                                      Certificate of Interested Parties
